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18
19                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF CALIFORNIA
20                               SAN FRANCISCO DIVISION
21
22                                                    Case No. C 08-3210 (VRW)
23   KARL STORZ ENDOSCOPY-AMERICA,
     INC.
24
                                                      [PROPOSED] STIPULATED ORDER
                            Plaintiff,
25                                                    OF DISMISSAL
26   v.

     FEMSUITE, LLC                                    Hon. Vaughn R. Walker
27
28                          Defendant.



     Case No. C 08-3210                           1
     [PROPOSED] STIPULATED ORDER OF DISMISSAL
      Case 3:08-cv-03210-VRW Document 88 Filed 10/26/09 Page 2 of 4


            The Court, upon the consent and request of Plaintiff Karl Storz Endoscopy-America, Inc.
 1
 2   (“KSEA”) and Defendant FemSuite, LLC ("FemSuite"), hereby acknowledges the following

 3   Stipulation and issues the following Order.
 4
                                                STIPULATION
 5
     1.     This Court has subject matter jurisdiction over this patent infringement action (the
 6
     "Action") and personal jurisdiction over KSEA and FemSuite. Venue is proper in this Court as to
 7
 8   KSEA and FemSuite.

 9   2.     KSEA and FemSuite have agreed to resolve and stipulate to the dismissal of the Action
10
     pursuant to the terms of a Settlement Agreement executed by KSEA and FemSuite.
11
     3.     Pursuant to the terms of the Settlement Agreement, KSEA has agreed that each of its claims
12
     set forth its Complaint For Patent Infringement filed on or about July 3, 2008, including the
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14   allegations and averments contained therein, should be dismissed with prejudice.

15   4.     Pursuant to the terms of the Settlement Agreement, FemSuite has agreed that each of its
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     counterclaims and defenses set forth in Defendant’s Answer And Counterclaims filed on or about
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     January 7, 2009 and Defendant’s First Amended Answer And Counterclaims filed on or about
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     March 17, 2009, including the allegations and averments contained therein, should be dismissed
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20   with prejudice.

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     Case No. C 08-3210                                2
     [PROPOSED] STIPULATED ORDER OF DISMISSAL
         Case 3:08-cv-03210-VRW Document 88 Filed 10/26/09 Page 3 of 4



 1   SO STIPULATED:

 2   Dated: October16, 2009                       Respectfully submitted,
 3
                                                  BECK, ROSS, BISMONTE, & FINLEY, LLP
 4
                                                  ___/s/________________________
 5                                                By: Alfredo A. Bismonte
 6
                                                  Wesley W. Whitmyer, Jr. (pro hac vice)
 7                                                Benjamin J. Lehberger (pro hac vice)
                                                  ST.ONGE STEWARD JOHNSTON & REENS LLC
 8                                                986 Bedford Street
 9                                                Stamford, Connecticut 06905
                                                  Telephone: (203) 324-6155
10                                                Facsimile: (203) 327-1096
                                                  Email: wwhitmyer@ssjr.com
11                                                       blehberger@ssjr.com
12
                                                  Attorneys for Plaintiff,
13                                                Karl Storz Endoscopy-America, Inc.
14
15   Dated: October 16, 2009                      Respectfully submitted,

16                                                MINTZ LEVIN COHN FERRIS GLOVSKY AND
                                                  POPEO, PC
17
18                                                ___/s/ 1 ________________________
                                                  By: Jeffrey M. Ratinoff
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                                                  Attorneys for Defendant,
20                                                FemSuite, LLC
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28     Pursuant to General Order 45, Section X, the efiler of this document attests that concurrence in
     the filing of this document has been obtained from Jeffery M. Ratinoff.


     Case No. C 08-3210                               3
     [PROPOSED] STIPULATED ORDER OF DISMISSAL
      Case 3:08-cv-03210-VRW Document 88 Filed 10/26/09 Page 4 of 4


                                           [PROPOSED] ORDER
 1
 2          Accordingly, pursuant to the above Stipulation, and upon the consent and request of KSEA

 3   and FemSuite, it is hereby ORDERED, Adjudged and Decreed that:
 4
            1.      All claims and counterclaims in the Action are dismissed with prejudice.
 5
            2.      Each party shall bear its own costs and attorneys’ fees.
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 7
 8   PURSUANT TO STIPULATION, IT IS SO ORDERED:
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                                                           UNIT
           October 23, 2009
12
     Date:_________________
                                                                 IT IS SO O
                                                              ________________________________
                                                              UNITED STATES DISTRICT JUDGE




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                                                              Hon. Vaughn R. Walker
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                                                                                       Walker
                                                           NO

                                                                            aughn R
                                                                     Judge V




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     Case No. C 08-3210                                4
     [PROPOSED] STIPULATED ORDER OF DISMISSAL
